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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                           IN THE UNITED STATES DISTRICT COURT                              August 22, 2017
                           FOR THE SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk

                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            CRIMINAL NO. H-17-284
                                                   §
KENNETH GLENN                                      §


                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
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        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                combination of conditions will reasonably assure the safety of any other person and
                the community. I further find that the defendant has not rebutted this presumption.

[X]     B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [X] (1)       There is probable cause to believe that the defendant has committed an offense

                      []     for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      [X]    under 18 U.S.C. § 924(c).

        [] (2) The defendant has not rebutted the presumption established by finding 1 that no
               condition or combination of conditions will reasonably assure the appearance of the
               defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is accused of aiding and abetting bank robbery in violation of 18 U.S.C.
                §§ 2113 and 2, and aiding and abetting with use of a firearm in furtherance of a crime
                of violence in violation of 18 U.S.C. § 924(c).

        [X] (2) There is a serious risk that the defendant will flee.

        [X] (3) Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]     D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the appearance of the defendant as required.

        [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the safety of any other person or the
                community.


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                             Written Statement of Reasons for Detention

        I find that the accusations in the indictment, information submitted in the Pretrial Services
Agency report, and information at the detention hearing establish by a preponderance of the evidence
that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and by clear and convincing evidence that no conditions will assure the safety
of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 23-year old U.S. citizen who lives in Houston, Texas. Defendant
                denies having a passport or any international travel. He lives with his mother and
                younger brother in a house she leases. His father is deceased. Two other siblings also
                live in Houston. He has never married but has 2 children and is expecting a third with
                the younger child’s mother. He has a very limited employment history.

        2.      Defendant's criminal history includes convictions for criminal trespass, burglary (2),
                tampering with evidence, and possession of marijuana (2). He has previously had
                probation revoked. He faces a pending charge of engaging in organized criminal
                activity.

        3.      Defendant is accused of aiding and abetting bank robbery in violation of 18 U.S.C.
                §§ 2113 and 2, and aiding and abetting with use of a firearm in furtherance of a crime
                of violence in violation of 18 U.S.C. § 924(c). He faces a potential penalty of up to
                twenty years in prison for robbery, and a mandatory minimum consecutive sentence
                of 7 years on the firearm charge.

        4.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court or the safety of the community. Detention is
                ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on August 16, 2017.




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